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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION


 Saladin J.Gipson ,                             )
                                                )
         Plaintiff,                             )
                                                )
                                                )         Case No. 21-cv-00071 JTM-JEM
         v.                                     )
                                                )
 United States Steel                            )
 Corporation and United Steelworkers            )
 Local 6103,                                    )
                                                )
         Defendants.                            )


         Motion of Defendant United Steelworkers Local 6103 for Summary Judgment

    Defendant United Steelworkers Local 6103 hereby moves for summary judgment in this

 case. These are the reasons for the Motion:

    1.    Plaintiff complains that the Union settled his grievances, which included a grievance

         over his discharge, instead of taking them to arbitration. He alleges that the Union did

         this because of his race. The undisputed facts, though, show that the Union settled his

         grievances because it believed that they did not have the merit to prevail at arbitration.

    2. Plaintiff cannot identify any Caucasian employee that the Union treated better than him

         because of the employee’s race.

    3. The decision to settle Plaintiffs grievances was made by the International Union, not

         Local 6103. However, the International Union is not a party to this case and is a separate

         labor organization. Plaintiff’s claim against Local 6103 should therefore be dismissed.

         Wherefore, Defendant United Steelworkers Local 6103 respectfully requests that the

         Court grant summary judgment in its favor in this case.


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                                                        Respectfully submitted

                                                        /s/Stephen A. Yokich


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                                  CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that he caused a true and accurate copy of the

  foregoing Defendant United Steelworkers Local 6103 Motion for Summary Judgment to

  be served on the individuals listed below by causing the foregoing to be electronically filed using

  the CM/ECF filing system on April 9, 2025.

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